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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   JOHN AND JANE DOE,

                  Plaintiffs,

   v.                                                   Case No. 3:22-cv-49

   JOSHUA MAST, et al.,

                  Defendants.


        PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR ATTORNEY’S FEES

         Joshua and Stephanie Mast (“J&S Mast”) do not dispute that “the time and fees set forth

  in Plaintiffs’ petition [for fees] are reasonable.” J&S Mast’s Response to Plaintiffs’ Motion for

  Attorney’s Fees (“J&S Mast’s Resp.”) (ECF No. 484). That should end the Court’s inquiry.

         Nonetheless, J&S Mast argue that neither they nor their counsel should be required to pay

  the fees Plaintiffs incurred in establishing J&S Mast’s violation of this Court’s November 28, 2023

  Order (“Discovery Order”) (ECF No. 326). Each of their arguments lacks merit.

         First, J&S Mast oppose Plaintiffs’ reasonable fee request for the reasons set forth in their

  Motion for Reconsideration of the Discovery Order (ECF No. 456). Plaintiffs will not repeat here

  the reasons that the Court should deny the motion for reconsideration, but incorporate by reference

  their Opposition to Defendant Joshua and Stephanie Mast’s Motion for Reconsideration of

  Sanctions Order (ECF No. 466).

         Second, while admitting that their “argument here is not that . . . Plaintiffs’ [fee] requests

  are unreasonable on their own,” J&S Mast argue that the Court should ignore those fees and instead

  impose a mere $1,000 sanction so as to be “commensurate” with a sanction imposed on Plaintiffs



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  in the state court litigation. J&S Mast’s Resp. at 3. They assert that the state court issued a $1,000

  sanction against Plaintiffs after the court “held that Plaintiffs had wrongfully withheld as privileged

  a memorandum prepared by a third-party. . . .” J&S Mast’s Resp. at 3-4.

         Not only do J&S Mast present no justification for their proposed “tit-for-tat” sanction

  formulation (there is none), but they ignore that this Court already rejected similar arguments made

  here regarding Plaintiffs’ original designation of the same memorandum as privileged (a

  designation they later withdrew). This Court determined that “Plaintiffs’ initial decision to

  describe” the memorandum at issue as privileged “was reasonable based on the limited information

  their attorneys had at the time.” ECF No. 376 at 3. For that matter, the false equivalency that J&S

  Mast imply between Plaintiffs’ “reasonable” assertion of privilege that counsel “promptly

  withdrew” at the appropriate time, id. at 40, and J&S Mast’s “fail[ure] to obey (through their

  counsel) a federal court order” and assertion of objections that “no reasonable person could think

  that they were correct to ‘stand on,’” ECF 445 at 36-37, reinforces the need for the meaningful

  sanction of attorney’s fees.

         Third, J&S Mast argue that fees should not be awarded unless Plaintiffs “establish that any

  and all fees will be remitted to and retained by counsel.” J&S Mast’s Resp. at 4-5. But every case

  they cite in support of this proposition relates to the fee provision of the Equal Access to Justice

  Act (“EAJA”), which authorizes payment of attorney’s fees only to the “prevailing party.”1 Rule

  37 contains no such language, stating only that that Court “must order the disobedient party, the

  attorney advising that party, or both to pay the reasonable expenses, including attorney’s fees,



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          J&S Mast cite to Faircloth v. Colvin, 2014 WL 5488809, at *2 (E.D. Va. Oct. 29, 2014);
  Abusamhadaneh v. Taylor, 2013 WL 193778, at *12 (E.D. Va. Jan. 17, 2013); Phillips v. Gen.
  Serv. Admin., 924 F. 2d 1577, 1583 (Fed. Cir. 1991); Stephens ex rel. R.E. v. Astrue, 565 F. 3d
  131, 140 (4th Cir. 2009).

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  caused by the failure” to comply with a court order. Fed. R. Civ. P. 37 (b)(2)(C). Plaintiffs (and

  apparently J&S Mast) are aware of no cases interpreting Rule 37 in line with the EAJA.

         Regardless, even if relevant, the cases cited by J&S Mast make clear that, “[w]hen the

  plaintiff has a continuing attorney-client relationship and has no obligation to remit fee awards to

  anyone other than his legal representative, an implied agreement exists ‘as a matter of law’” for

  the client to remit payment to counsel. Faircloth, 2014 WL 5488809, at *3 (quoting Phillips, 924

  F. 2d at 1583, n. 5). A party satisfies that requirement when “[c]ounsel prepare[s] and submit[s]”

  the motion for attorney’s fees and no third party has compensated counsel for the representation.

  Id. That standard is satisfied here.

         Finally, J&S Mast alternatively ask “that the Court stay the Mast’s obligation to pay any

  fee award until the conclusion of the litigation.” J&S Mast’s Resp. at 2. They argue that, because

  discovery sanctions are not appealable until the entry of final judgment, they could “face the

  prospect of a substantial fee award that they do not have a meaningful opportunity to appeal for an

  indefinite period of time.” J&S Mast’s Resp. at 2-3. Notably, J&S Mast cite nothing in support of

  this proposal. Nor do they explain why they should be treated any differently than any other party

  against whom Rule 37 sanctions are imposed. The Court should grant Plaintiffs’ fee request – the

  reasonableness of which J&S Mast concede – and should impose it now.


  Dated: September 10, 2024                     Respectfully submitted,

                                                /s/ Maya M. Eckstein
                                                Maya M. Eckstein (VSB No. 41413)
                                                Lewis F. Powell III (VSB No. 18266)
                                                Michael R. Shebelskie (VSB No. 27459)
                                                Kevin S. Elliker (VSB No. 87498)
                                                HUNTON ANDREWS KURTH LLP
                                                951 E Byrd St
                                                Richmond, VA 23219
                                                Telephone: (804) 788-8200

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                                     Fax: (804) 788-8218
                                     Email: meckstein@HuntonAK.com
                                     Email: lpowell@HuntonAK.com
                                     Email: mshebelskie@HuntonAK.com
                                     Email: kelliker@HuntonAK.com

                                     Sehla Ashai (admitted pro hac vice)
                                     ELBIALLY LAW, PLLC
                                     704 East 15th Street Suite 204
                                     Plano, TX 75074
                                     Telephone: (312) 659-0154
                                     Email: ashai@elbiallylaw.com

                                     Blair Connelly (admitted pro hac vice)
                                     Zachary Rowen (admitted pro hac vice)
                                     LATHAM & WATKINS LLP
                                     1271 Avenue of the Americas
                                     New York, NY 10029
                                     Telephone: (212) 906-1200
                                     Email: blair.connelly@lw.com
                                     Email: Zachary.rowen@lw.com

                                     Ehson Kashfipour (admitted pro hac vice)
                                     LATHAM & WATKINS LLP
                                     555 Eleventh Street, NW, Suite 1000
                                     Washington, DC 20004-1304
                                     Telephone: (202) 637-2200
                                     Email: ehson.kashfipour@lw.com


                                     Counsel for Plaintiffs




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 10th day of September, 2024, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

  to all CM/ECF participants.

                                                       By:     /s/ Maya M. Eckstein
                                                               Maya M. Eckstein (VSB # 41413)
                                                               Hunton Andrews Kurth LLP
                                                               Riverfront Plaza, East Tower
                                                               951 East Byrd Street
                                                               Richmond, Virginia 23219-4074
                                                               Telephone: (804) 788-8200
                                                               Facsimile: (804) 788-8218
                                                               meckstein@HuntonAK.com

                                                               Counsel for Plaintiffs




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